Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 1of 18

Robert L. Weigel (RW 0163)
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Jennifer C. Halter (JH 7032) oes ee
Anne M. Coyle (AC 3158) ;USDS SDNY

Kimberly Lindsay (KL 5776) || DOCUMENT

GIBSON, DUNN & CRUTCHER, LLP | ELECTRONICALLY FILED
200 Park Avenue |

New York, New York 10166 DOC #:

(212) 351-4000 IDATE FILED: 7/2/10

Attorneys for Plaintiffs Gucci America, Inc.,

Balenciaga, S.A., Balenciaga America, Inc.,

Bottega Veneta International S.a.r.1., Bottega Veneta, Inc.,

Luxury Goods International (L.G.I.) S.A. and Yves Saint Laurent America, Inc.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GUCCI AMERICA, INC., BALENCIAGA :
AMERICA, INC., BALENCIAGA S8.A., BOTTEGA :
VENETA INTERNATIONAL S.A.R.L., BOTTEGA :
VENETA, INC., LUXURY GOODS :
INTERNATIONAL (L.G.L) S.A. and YVES SAINT :

LAURENT AMERICA, INC. : 2010 Civ. 4974 (RJS)
Plaintiffs, : TEMPORARY RESTRAINING ORDER,
: ASSET RESTRAINING ORDER,
~against- : ORDER AUTHORIZING EXPEDITED

: DISCOVERY AND

WEIXING LI and LIJUN XU a/k/a JACK LONDON,. ORDER TO SHOW CAUSE

all doing business aa REDTAGPARTY, .

MYLUXURYBAGS.COM,

XPRESSDESIGNERS.COM,

XPRESSDESIGNER.NET, and DESIGNER
HANDBAGS; ABC COMPANIES;
and JOHN DOES,

Defendants.

Plaintiffs Gucci America, Inc. (“Gucci”), Balenciaga, S.A. and Balenciaga America, Inc.
(together “Balenciaga’’), Bottega Veneta International S.a.r.]. and Bottega Veneta, Inc. (together

“Bottega Veneta”), and Luxury Goods International (L.G.I.) S.A. and Yves Saint Laurent
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 2 of 18

America, Inc. (together “YSL”) (collectively, “Plaintiffs”), having moved ex parte against
Defendants Weixing Li and Lijun Xu a/k/a Jack London, all doing business as Redtagparty,
Myluxurybags.com, Xpressdesigner.net, and Designer Handbags; and ABC Companies; and
John Does (collectively, “Defendants”), for a temporary restraining order, asset restraining order,
order authorizing expedited discovery and alternative service of process, and order to show cause
for preliminary injunction pursuant to Federal Rule of Civil Procedure 65 and the Lanham Act
(15 U.S.C. § 1051, et seq.), for the reason that Defendants are manufacturing, importing,
exporting, distributing, marketing, advertising, offering for sale, and/or selling goods bearing
counterfeit reproductions of Plaintiffs’ federally registered trademarks, trade names, and/or logos
as set forth in Plaintiffs’ Complaint in this action (collectively “Plaintiffs’ Marks”), which are
owned and controlled by Plaintiffs, and the Court, having reviewed the Complaint,
Memorandum of Law, supporting Declarations and exhibits submitted therewith, finds:

1. Plaintiffs are likely to succeed in showing that Defendants have used and are
continuing to use counterfeits or infringements of Plaintiffs’ Marks in connection with the
manufacture, exportation, importation, distribution, marketing, advertising, offer for sale and/or
sale of products, including but not limited to handbags, wallets, and other leather goods
(collectively, the “Counterfeit Products”);

2. The manufacturing, importing, exporting, distributing, marketing, advertising,
offering for sale and/or selling of the Counterfeit Products will result in immediate and
irreparable injury to Plaintiffs if the relief requested is not ordered;

3. Defendants, or other persons acting in concert with Defendants, would likely
destroy, move, hide or otherwise make assets, Counterfeit Products and business records relating

thereto inaccessible to the Court if Plaintiffs proceeded on notice to Defendants, thus frustrating

the ultimate relief that Plaintiffs seek in this action;
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 3 of 18

4. The harm to Plaintiffs from denial of the requested ex parte order outweighs the
harm to Defendants’ legitimate interests against granting such an order;

5. Entry of an order other than an ex parte seizure order would not adequately
achieve the purposes of the Lanham Act to preserve Plaintiffs’ remedies for trademark
counterfeiting, including, inter alia, cessation of all sales of the Counterfeit Products, the
acquisition of the business records relating to the Counterfeit Products, and an award to Plaintiffs
of lost profits or damages.

THEREFORE, IT IS HEREBY ORDERED that Defendants Weixing Li and Lijun Xu
a/k/a Jack London, all doing business as Redtagparty, Myluxurybags.com, Xpressdesigners.com,
Xpressdesigner.net, and Designer Handbags; and any John Doe or ABC Company defendants
who receive notice of this Order, appear to show cause on July 9, 2010 at 9:30 a.m. or as soon
thereafter as counsel can be heard, in Courtroom 21C of the United States District Court for the
Southern District of New York at 500 Pearl Street / 40 Centre Street, New York, New York why
an Order pursuant to Rules 64 and 65 of the Federal Rules of Civil Procedure and Section 34 of
the Lanham Act should not be entered granting Plaintiff a preliminary injunction as follows:

1. Restraining and enjoining Defendants, their officers, directors, agents,
representatives, successors or assigns, and all persons acting in concert or in participation with
any of them from:

(a) manufacturing, distributing, delivering, shipping, importing, exporting,
advertising, marketing, promoting, selling or otherwise offering for
sale Counterfeit Products or any other products produced by Plaintiff
or confusingly similar to Plaintiffs’ Products, or that otherwise bear,

contain, display or utilize any of Plaintiffs’ Marks, any derivation or
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 4 of 18

(b)

(c)

(d)

(¢)

(f)

(g)

colorable imitation thereof, or any mark confusingly similar thereto or
likely to dilute or detract from the Plaintiffs’ Marks;

making or employing any other commercial use of Plaintiffs’ Marks,
any derivation or colorable imitation thereof, or any mark confusingly
similar thereto or likely to dilute or detract from the Plaintiffs’ Marks;
using any other false designation of origin or false description or
representation or any other thing calculated or likely to cause
confusion or mistake in the mind of the trade or public or to deceive
the trade or public into believing that Defendants’ products or
activities are in any way sponsored, licensed or authorized by or
affiliated or connected with Plaintiffs; and

doing any other acts or things calculated or likely to cause confusion
or mistake in the mind of the public or to lead purchasers or consumers
or investors into the belief that the products or services promoted,
offered or sponsored by Defendants come from Plaintiffs or their
licensees, or are somehow licensed, sponsored, endorsed, or authorized
by, or otherwise affiliated or connected with Plaintiffs; and

further diluting and infringing all Plaintiffs’ Marks and damaging
Plaintiffs’ goodwill; and

otherwise competing unfairly with Plaintiffs or any of their authorized
licensees in any manner; and

transferring, disposing of, or secreting any money, stocks, bonds, real
or personal property, or other assets of Defendants or otherwise paying

or transferring any money, stocks, bonds, real or personal property, or
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 5of 18

other assets to any of the Defendants, or into or out of any accounts
associated with or utilized by any of the Defendants, as set forth
further herein; and

(h) assisting, aiding, or abetting any other person or business entity in
engaging in or performing any of the activities referred to in the above
subparagraphs (a) through (g), or effecting any assignments or
transfers, forming new entities or associations or utilizing any other
device for the purpose of circumventing or otherwise avoiding the
prohibitions set forth in subparagraphs (a) through (g);

IT APPEARING to the Court that Defendants are manufacturing, exporting, importing,
distributing, marketing, advertising, offering for sale, and/or selling the Counterfeit Products, and
will continue to carry out such acts unless restrained by Order of the Court:

IT IS FURTHER ORDERED, that pending the hearing on Plaintiffs’ application for a
preliminary injunction, Defendants, including Weixing Li and Lijun Xu a/k/a Jack London, all
doing business as Redtagparty, Myluxurybags.com, Xpressdesigners.com, Xpressdesigner.net,
and Designer Handbags; and any John Doe or ABC Company defendants who receive notice of
this Order, and their officers, directors, agents, representatives, successors or assigns, and all
persons acting in concert or in participation with any of them, or having knowledge of this Order
by personal service or otherwise be, and they are, hereby temporarily restrained from:

(a) committing any of the acts set forth in subparagraph (1)(a)-(g) above; and

(b) moving, returning, or otherwise disposing of, in any manner, any
Counterfeit Products or any other products confusingly similar to
Plaintiffs’ Products, or that otherwise bear, contain, display, or utilize any

of Plaintiffs’ Marks, any derivation or colorable imitation thereof, or any
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 6 of 18

mark confusingly similar thereto or likely to dilute or detract from the
Plaintiffs’ Marks; and
(c) secreting, destroying, altering, removing, or otherwise dealing with the
unauthorized products or any books or records which contain any
information relating to the importing, manufacturing, producing,
distributing, circulating, selling, marketing, offering for sale, advertising,
promoting, renting, or displaying of all unauthorized products which
infringe Plaintiffs’ Trademarks
IT IS FURTHER ORDERED, that the Temporary Restraining Order shall remain in
effect until the date for hearing on the Order to Show Cause set forth above, or such further dates
as set by the Court; and
IT IS FURTHER ORDERED, that in accordance with Rule 64 of the Federal Rules of
Civil Procedure, 15 U.S.C. § 1116(a), and this Court’s inherent equitable power to issue
provisional remedies ancillary to its authority to provide final equitable relief, Defendants and
their officers, directors, agents, representatives, successors or assigns, and all persons acting in
concert or in participation with any of them, and any banks, savings and loan associations, credit
card companies, credit card processing agencies, merchant acquiring banks, financial institutions,
or other companies or agencies that engage in the processing or transfer of money and/or real or
personal property, who receive actual notice of this order by personal service or otherwise, are,
without prior approval of the Court, temporarily restrained and enjoined from transferring,
disposing of, or secreting any money, stocks, bonds, real or personal property, or other assets of
Defendants or otherwise paying or transferring any money, stocks, bonds, real or personal
property, or other assets to any of the Defendants, or into or out of any accounts associated with

or utilized by any of the Defendants. This includes but is not limited to: (1) any and all
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 7 of 18

Frontline Processing Corporation accounts utilized by Lijun Xu, Redtagparty,
Myluxurybags.com and/or any of the Defendants; (2) any and all MasterCard, Visa, American
Express and/or Discover credit or debit card payment accounts that are associated with or
utilized by Myluxurybags.com and/or any of the Defendants; and (3) any and all accounts with
any and all financial institutions responsible for processing credit or debit card purchases that are
associated with or made in connection with Myluxurybags.com and/or any of the Defendants.

IT IS FURTHER ORDERED, that upon two (2) days written notice to the Court and
Plaintiffs’ counsel, any Defendant or restrained third party may appear and move for the
dissolution or modification of the provisions of this Order concerning the restriction upon
transfer of Defendants’ assets upon an appropriate evidentiary showing by Defendant; and

IT IS FURTHER ORDERED, that in accordance with Rule 64 of the Federal Rules of
Civil Procedure, 15 U.S.C. § 1116(a), Defendants and their officers, directors, agents,
representatives, successors or assigns, and all persons acting in concert or in participation with
any of them, and any websites, online search engines, online shopping price comparison
services, or any other business or publication that advertises Defendants’ website
www.Myluxurybags.com, who receive actual notice of this order by personal service or
otherwise, are, without prior approval of the Court, temporarily restrained and enjoined from
advertising, promoting, or marketing Defendants’ Counterfeit Products or Defendants’ website
www.Myluxurybags.com. This includes but is not limited to Google, Inc.

IT IS FURTHER ORDERED, that in accordance with Rule 64 of the Federal Rules of
Civil Procedure, 15 U.S.C. § 1116(a), Defendants and their officers, directors, agents,
representatives, successors or assigns, and all persons acting in concert or in participation with
any of them, and any website hosts, domain name owners, internet protocol supporter, or any

other business supporting, hosting or providing e-commerce services to Defendants’ website
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 8 of 18

www.Myluxurybags.com, who receive actual notice of this order by personal service or
otherwise, are, without prior approval of the Court, temporarily restrained and enjoined from
supporting or hosting Defendants’ website www.Myluxurybags.com. This includes but is not
limited to EZOT, Inc.

IT IS FURTHER ORDERED, that Plaintiffs shall post a corporate surety bond, cash or a
certified or attorney’s check in the amount of ten thousand dollars ($10,000) as security,
determined adequate for the payment of such damages as any person may be entitled to recover
as a result of a wrongful restraint hereunder; and

IT IS FURTHER ORDERED, that sufficient cause having been shown, service of this
Order together with the Summons and Complaint, shall be made on Defendants and deemed
effective as to all named Defendants if it is completed by the following means:

(a) by hand delivery care of Weixing Li at 3372 Daley Center Drive San Diego,
California 92123 or 8690 Aero Drive Suite 115-231, San Diego, California 92123-1886;

(b) by hand delivery care of Lijun Xu a/k/a Jack London at 9155 Judicial Drive, Apt.
5120, San Diego, California 92122 or 8690 Aero Drive Suite 115-231, San Diego, California
92123-1886; and

(c) by delivery of Adobe PDF copies of this Order together with the Summons and
Complaint to the following e-mail addresses: (1) payment0925@yahoo.com; and
(2) xpressdesigner@yahoo.com.

IT IS FURTHER ORDERED, that such service shall be made by Tuesday, June 30, 2010,
except as to John Doe or ABC Company defendants who may be later identified, or at such time
as may be extended by this Court; and

IT IS FURTHER ORDERED, that Defendants’ answering papers, if any, shall be filed

with the Clerk of this Court and served upon the attorneys for Plaintiffs by delivering copies
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 9 of 18

thereof to the offices of Gibson, Dunn & Crutcher LLP, 200 Park Avenue, 47th Floor, New
York, NY 10166-0193, Attention: Robert L. Weigel, Esq., by no later than July 2, 2010 with any
reply by Plaintiffs to be filed and served by July 6, 2010; and

IT IS FURTHER ORDERED that Plaintiffs’ motion for expedited discovery is granted;
that Plaintiffs shall serve with this order requests for disclosures pursuant to Fed. R. Civ. P. 26
and 34 in the form appended hereto as Attachment A, and that Defendants shall produce
documents responsive to such requests on or before July 8, 2010; and

IT IS FURTHER ORDERED, that Defendants are hereby given notice that failure to
attend the hearing scheduled herein may result in confirmation of the relief provided herein,
immediate issuance of the requested preliminary injunction to take effect immediately upon
expiration or dissolution of the temporary restraining order, and may otherwise extend for the
pendency of this litigation upon the same terms and conditions as comprise this temporary
restraining order. Defendants are hereby given further notice that they may be deemed to have
actual notice of the issuance and terms of such preliminary injunction and any act by them or
anyone of them in violation of any of the terms thereof may be considered and prosecuted as

contempt of this Court.

SO ORDERED.

DATED this 25 day of June, 2010

Hour: 5a ¢ oamne/D.m.

Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 10 of 18

ATTACHMENT A
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 11 of 18

Robert L. Weigel (RW 0163)

Howard S. Hogan (HH 7995)

Jennifer C. Halter (JH 7032)

Anne M. Coyle (AC 3158)

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Attorneys for Plaintiffs Gucci America, Inc.,

Balenciaga, S.A., Balenciaga America, Inc.,

Bottega Veneta International S.a.r.1., Bottega Veneta, Inc.,

Luxury Goods International (L.G.I_) S.A. and Yves Saint Laurent America, Inc.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GUCCI AMERICA, INC., BALENCIAGA :

AMERICA, INC., BALENCIAGA S.A., BOTTEGA :

VENETA INTERNATIONAL S.A.R.L., BOTTEGA :

VENETA, INC., LUXURY GOODS

INTERNATIONAL (L.G.L) S.A. and YVES SAINT :

LAURENT AMERICA, INC. : 2010 Civ. 4974 (RJS)

Plaintiffs,
-against-

WEIXING LI and LIJUN XU a/k/a JACK LONDON, .
all doing business aa REDTAGPARTY,
MYLUXURYBAGS.COM,
XPRESSDESIGNERS.COM,
XPRESSDESIGNER.NET, and DESIGNER
HANDBAGS; ABC COMPANIES;

and JOHN DOES,

Defendants.

Xx

PLAINTIFFS’ FIRST REQUEST TO DEFENDANTS FOR
DISCOVERY AND INSPECTION OF DOCUMENTS

PLEASE TAKE NOTICE that pursuant to Rules 26 and 34 of the Federal Rules of Civil

Procedure and Rules 26.1 to 26.3 of the Local Civil Rules of the United States District Court for
Case 1:10-cv-04974-RJS Document3 _ Filed 07/02/10 Page 12 of 18

the Southern District of New York, Plaintiffs Gucci America, Inc., Balenciaga, S.A. and
Balenciaga America, Inc., Bottega Veneta International S.a.r.1., Bottega Veneta, Inc., Luxury
Goods International (L.G.I.) S.A. and Yves Saint Laurent America, Inc. (collectively,
“Plaintiffs”) by their undersigned attorneys, Gibson, Dunn & Crutcher, LLP, hereby request that
Defendants Weixing Li and Lijun Xu a/k/a Jack London, all doing business as Redtagparty,
Myluxurybags.com, Xpressdesigners.com, Xpressdesigner.net, and Designer Handbags; and
ABC Companies; and John Does (collectively, “Defendants”), produce the following documents
and things for inspection and copying at the offices of Gibson, Dunn & Crutcher LLP, 200 Park
Avenue, 47th Floor, New York, New York 10166, within the shorter of: (a) thirty (30) days; or
(b) any timeframe or deadline that may be set by the Court in connection with any Order to Show
Cause that may issue in this action.

DEFINITIONS

The following definitions apply to each of the Requests herein and should be read and
referred to upon answering the Requests:

1. The term “Plaintiffs” means Gucci America, Inc., Balenciaga, S.A. and
Balenciaga America, Inc., Bottega Veneta International S.a.r.l., Bottega Veneta, Inc., Luxury
Goods International (L.G.I.) S.A. and Yves Saint Laurent America, Inc., and their respective
“officers, directors, employees, partners, corporate parent, subsidiaries or affiliates.” S.D.N.Y.
Local Civil Rule 26.3(c)(5).

2. The term “Defendants” means Weixing Li and Lijun Xu a/k/a Jack London, al!
doing business as Redtagparty, Myluxurybags.com, Xpressdesigners.com, Xpressdesigner.net,
and Designer Handbags; and ABC Companies; and John Does and their “officers, directors,

employees, partners, corporate parent, subsidiaries or affiliates.” S.D.N.Y. Local Civil Rule

26.3(c)(5).
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 13 of 18

3. The term ‘Plaintiffs’ Marks” means trademarks, service marks, and trade dress
that identify Plaintiffs, their products, authorized stores, websites, and affiliates, including but
not limited to the marks referenced in Exhibits | through 4 to the Complaint in this action.

4. The term “Disputed Products” means any and all products sold, manufactured,
marketed or otherwise offered to consumers by any of the Defendants that in any way display,
utilize or reference any of Plaintiffs’ Marks or any colorable imitations of Plaintiffs’ Marks,
including but not limited to the products defined in the Complaint in this action as “Counterfeit
Products.”

5. The terms “Person” and “Persons” mean any natural person or any business,
legal or governmental entity or association. S.D.N.Y. Local Civil Rule 26.3(c)(6).

6. The term “Document” is synonymous in meaning and equal in scope to the usage
of this term in Federal Rule of Civil Procedure 34(a), including, without limitation, electronic or
computerized data compilations. A draft or non-identical copy is a separate document within the
meaning of this term. S.D.N.Y. Local Civil Rule 26.3(c)(2).

7, The term “Communication” means “the transmittal of information (in the form
of facts, ideas, inquiries, or otherwise).” S.D.N.Y. Local Civil Rule 26.3(c)(1).

8. The term “Concerning” means “relating to, referring to, describing, evidencing
or constituting.” S.D.N.Y. Local Civil Rule 26.3(c)(7).

INSTRUCTIONS
A. In producing documents pursuant to these requests, Defendants are required to
furnish all Documents in Defendants’ possession, custody or control that are known or available
to Defendants. A Document is in Defendants’ possession, custody or control, if, among other
things, it is in Defendants’ physical custody, or if it is in the physical custody of any other person

and Defendants (a) own such Document in whole or in part; (b) have a right by contract, statute,
Case 1:10-cv-04974-RJS Document3 _ Filed 07/02/10 Page 14 of 18

or otherwise to use, inspect, examine or copy such Document on any terms; (c) have an
understanding, express or implied, that Defendants may use, inspect, examine or copy such
Document on any terms; or (d) have, as a practical matter, been able to use, inspect, examine or
copy such Document when Defendants have sought to do so. Such Documents shall include,
without limitation, Documents that are in the custody of Defendants’ attorney(s) or other
agent(s).

B. Defendants must make a diligent search of Defendants’ records (including but not
limited to paper records, computerized records, electronic mail records and voice-mail records)
and of other papers and materials in Defendants’ possession or available to Defendants or
Defendants’ attorneys, financial advisors, consultants, investigators, and other agents or
representatives.

C. Each request herein constitutes a request for Documents in their entirety, with all
enclosures and attachments, and without abbreviation, redaction or expurgation.

D. Defendants shall produce any and all drafts and copies of each Document that are
responsive to any request, and all copies of such Documents that are not identical in any respect,
including but not limited to copies containing handwritten notes, markings, stamps or
interlineations.

E. If Defendants contend that a requested Document is privileged in whole or part, or
contend that any identified Document would be excludable from production and discovery
regardless of its relevance (including, but not limited to, a claim of attorney-client privilege or
the attorney work-product doctrine), Defendants are required, for each and every such
Document, to state the nature of the privilege being claimed and to provide the following

information: (a) the type of document, e.g., letter or memorandum; (b) the general subject matter
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 15 of 18

of the document; (c) the date of the document; and (d) such other information as is sufficient to
identify the document for a subpoena duces tecum, including, where appropriate, the author of
the document, the addressees of the document, and any other recipients shown in the document,
and, where not apparent, the relationship of the author, addressees, and recipients to each other.
S.D.N.Y. Local Civil Rule 26.2(a).

F, A request for Documents within a particular time period shall be deemed to
include all Documents that were dated, prepared, sent or received during that time period.

G. If Defendants possess, control, or have custody of nothing responsive to any
numbered request set forth below, state this fact by so specifying in Defendants’ response to said
request.

H. If Defendants’ “original” of a Document is a photocopy (or other copy), then the
copy should be produced as the original.

I. Documents shall be produced as they are kept in the usual course of business or
shall be organized and labeled to correspond to the particular request or requests to which they
are responsive. Wherever requested Documents, are stored in electronic, digital, or
computerized form, Defendants are to provide it in that form, including any software required to
access, retrieve, or read the data. All other Documents should be produced in a readable
electronic format whenever and wherever possible.

J. With respect to the production of any category of Documents which Defendants
contend is in some way burdensome or oppressive, state the specific reason for this objection and

briefly summarize the Documents in question.
Case 1:10-cv-04974-RJS Document3 _ Filed 07/02/10 Page 16 of 18

K. Each request shall be deemed continuing so as to require supplementation if
Defendants obtain any further responsive Documents between the time that Defendants’ initial

production is due and the time of trial.
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 17 of 18

II. Documents Requested

1. All Documents Concerning Plaintiffs in Defendants’ possession, custody or
control.

2. All Documents Concerning all Defendants’ uses of the Plaintiffs’ Marks or
colorable imitations thereof, including but not limited to all such uses on advertisements,
websites, products of any type, signs, prints, packages, wrappers, pouches, receptacles,
metadata, search engine keywords, advertising matter, promotional, and other materials.

3. All Documents Concerning any and all earnings, profits, or other benefits that
Defendants have obtained that are in any way attributable, related, or connected to
Defendants’ uses of Plaintiffs’ Marks, including but not limited to the names and account
numbers for the banks, savings and loans, and other financial institutions in which such
earnings, profits, or other benefits are maintained.

4. All Documents Concerning Defendants’ manufacture, purchase, acquisition,
design, order, import, export, advertisement, distribution or sale of the Disputed Products,
including but not limited to Documents Concerning Defendants’ sources of the Disputed
Products, and any pending advertisements, offerings, sales, or shipments of the Disputed
Products.

5. All Documents Concerning the relationship between the Defendants, including
but not limited to documents concerning the corporate structure and organization of the
Defendants and the transfer of payments, profits, costs, and/or losses between them.

6. All Documents Concerning any and all payments to Defendants in return for any
and all Disputed Goods that were transmitted, processed, facilitated, enabled, or otherwise

contributed to by any and all third parties, including but not limited to credit card companies,
Case 1:10-cv-04974-RJS Document3 Filed 07/02/10 Page 18 of 18

agencies, or processors, or other financial institutions or such as, without limitation: (1)
PayPal; (2) MasterCard; (3) Visa; (4) American Express; (5) Discover; and (6) any and all
accounts with any and all financial institutions responsible for processing credit or debit card
purchases from any of Defendants, including but not limited to Frontline Processing
Corporation.

7. All Documents Concerning, relating to, supporting, or contradicting any of the

allegations in the Complaint in this action.

Dated: New York, New York
, 2010

GIBSON, DUNN & CRUTCHER

By:
Robert L. Weigel (RW 0163)
Howard S. Hogan (HH 7995)
Jennifer C. Halter (JH 7032)
Anne M. Coyle (AC 3158)
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Attorneys for Plaintiffs Gucci America, Inc., Balenciaga,
S.A., Balenciaga America, Inc., Bottega Veneta
International S.A., Bottega Veneta, Inc., Luxury Goods
International (L.G.I_) S.A. and Yves Saint Laurent America,
Inc.
